        Case 2:16-cr-00019-AKB Document 264 Filed 12/23/16 Page 1 of 2




                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

              Plaintiff,                            Case No. 2:16-cr-0019-BLW

       v.                                           ORDER ADOPTING REPORT
                                                    AND RECOMMENDATION
SEAN LEE JACKSON

              Defendant.



       Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. (Dkt. 241). On November 15, 2016, Defendant Sean Lee Jackson

appeared before the Magistrate Judge to enter a change of plea pursuant to a written plea

agreement. The Magistrate Judge conducted the plea hearing and concluded there is a

factual basis for Defendant’s admission to forfeiture and plea of guilty to the charges

contained in Counts One and Thirteen of the Superseding Indictment (Dkt. 82), and that it

was entered voluntarily and with full knowledge of the consequences. No objections to

the Report and Recommendation have been filed.

       The Court now has reviewed the record, and finds that the requirements of Rule 11

have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir. 2003).

Specifically, the Court finds that the Magistrate Judge adhered to the requirements of

Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was voluntary and not the

result of force or threats or promises apart from the plea agreement; and that a factual

basis for the plea exists. See id. Accordingly,


ORDER ADOPTING REPORT AND RECOMMENDATION - 1
           Case 2:16-cr-00019-AKB Document 264 Filed 12/23/16 Page 2 of 2




       NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Dkt. 241) shall be, and the same is hereby, ADOPTED as the decision

of the District Court and incorporated fully herein by reference.

       IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the crimes

charged in Counts One and Thirteen of the Superseding Indictment (Dkt. 82 ), shall be,

and the same is hereby, ACCEPTED by the Court as a knowing and voluntary plea

supported by an independent basis in fact containing each of the essential elements of the

offense.

       IT IS FURTHER ORDERED that Defendant Sean Lee Jackson is found to be

GUILTY as to the applicable crimes charged in the Superseding Indictment (Dkt. 82).

                                   DATED: December 23, 2016



                                   B. LYNN WINMILL
                                   Chief U.S. District Court Judge




ORDER ADOPTING REPORT AND RECOMMENDATION - 2
